                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – FLINT


IN RE:
                                                                   Case No. 11-30905-dof
         SHERRIE LUCAS,                                            Chapter 13 Proceeding
                                                                   Hon. Daniel S. Opperman
                Debtor.

________________________________________/

SHERRIE LUCAS,

         Plaintiff/Counter-Defendant,

v.                                                                 Adversary Proceeding
                                                                   Case No. 11-03174-dof
ROBERT E. DELANEY,

         Defendant/Counter-Plaintiff/
         Third-Party Plaintiff,

v.

CITIZENS BANK, a Michigan state chartered
bank; PHH MORTGAGE CORPORATION, a
foreign corporation; MARDA T. LUCAS, an
individual; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., a foreign
Corporation; and the SECRETARTY OF
HOUSING AND URBAN DEVELOPMENT,

         Third-Party Defendants.

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     OPINION DENYING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                          PROCEDURAL BACKGROUND AND FACTS

         On February 25, 2011, Sherrie Lucas (“Lucas”) filed a Chapter 13 bankruptcy petition.

Lucas owns property located at 411 Wheeler Road, Fowlerville, Michigan (the “Property”).



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       Lucas and her ex-husband entered into a land contract to purchase the Property, which

was then a vacant property consisting of four separate parcels, on April 11, 1983. On April 20,

1987, Lucas and her ex-husband were divorced and pursuant to the Judgment of Divorce, her ex-

husband conveyed his interest in the Property to her by quitclaim deed.

       In early 1989, Lucas began a dating relationship with Robert Delaney (“Delaney”).

Delaney asserts that Lucas made numerous express or implied representations to him during the

course of their more than fifteen year relationship that, if he agreed to finance the purchase of the

Property and the construction of a log cabin home on the Property, she would add his name to

the title and he would hold a joint ownership interest in the Property.

       Delaney claims that, in reliance on those representations, he made the following

payments associated with the Property: (1) between June 1, 1989, and May 20, 1994, payments

in the amount of at least $7,450.00 toward the land contract for the purchase of the Property; and

(2) between February 28, 1990, and December 15, 1993, the real estate taxes for the Property in

the amount of at least $4,620.80. The land contract was paid off on April 1, 1994, and the land

contract vendors conveyed all four parcels to Lucas via warranty deeds on the following dates:

(1) Parcel 8 was conveyed on April 1, 1994, and the deed was recorded on May 20, 1994; (2)

Parcel 9 was conveyed on May 20, 1994, and the deed was recorded that same date; (3) Parcels 7

and 10 were conveyed on June 14, 1994, and the deeds were recorded on December 30, 2003.

Delaney claims that Lucas represented to him that he had also been granted ownership rights to

the Property at those times.

       Delaney claims that, in reliance on Lucas’s representations, on April 6, 1994, he applied

jointly with Lucas for a mortgage loan from NBD Mortgage Company (“NBD”) to finance the

construction of a log cabin home on Parcels 8 and 9 of the Property. On May 13, 1994, Delaney



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and Lucas executed a promissory note in the amount of $115,000.00, mortgage documents, and

other related documents. Chelsea Lumber Company was the designated mortgagee to facilitate

Delaney being his own general contractor during the construction of the log cabin home. The

mortgage was recorded on June 8, 1994, in the Livingston County Register of Deeds.

       Delaney acted as the general contractor for the construction of the log cabin home on the

Property and he claims that he paid at least $47,185.41 for permits, building construction, and

other fixtures and improvements to the Property.

       In October 1994, Delaney and Lucas applied for a new loan with NBD to refinance the

construction loan with Chelsea Lumber Company. On October 26, 1994, Chelsea Lumber

Company issued a Discharge of Mortgage. On October 31, 1994, Delaney and Lucas executed a

new Adjustable Rate Note in the amount of $116,000.00 and granted a mortgage on the Property

to NBD. That mortgage was recorded on November 10, 1994, in the Livingston County Register

of Deeds. The monthly payment pursuant to the note was $1,008.25. Delaney claims that he

made all of the loan payments to NBD.

       In November 1996, Delaney and Lucas applied with NBD for a new loan to refinance

their October 1994 mortgage loan. On November 26, 1996, Delaney and Lucas executed a new

promissory note in the amount of $116,000.00 and granted a mortgage on the Property to NBD.

That mortgage was recorded on January 2, 1996, in the Livingston County Register of Deeds.

The monthly payments for that loan were $839.07 and the payments for taxes and insurance

ranged between $180.51 and $192.13 per month. Delaney claims that he made all of the loan

payments to NBD.

       The servicer for the loan changed from NBD to Homeside in March of 1999, and then

changed from Homeside to WaMu in December 2001.



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       Delaney claims that he paid at least $190,825.10 in mortgage payments, including taxes

and insurance, for the Property between April 11, 1994, and December 13, 2009. Between 1994

and 2005, Delaney claimed mortgage interest deductions on his Federal income tax returns.

Delaney further claims that, over the last twenty years, he has paid at least $25,155.35 for the

utilities and over $11,754.22 for maintenance costs at the Property.

       Delaney and Lucas’s relationship eventually deteriorated.        At some point, Lucas

attempted to have Delaney evicted from the Property through summary proceedings in the 53rd

District Court. Her attempt was unsuccessful. On April 29, 2009, Delaney prepared and filed

an Affidavit of Lien Interest against the Property, which was recorded in the Livingston County

Register of Deeds on that same date. Subsequent to Delaney’s filing of the Affidavit of Lien

Interest against the Property, Lucas refinanced the existing mortgage on the Property with two

new mortgage loans under which Lucas is obligated and Delaney is not. Thereafter, the parties

engaged in litigation over the Property in the Livingston County Circuit Court. That litigation

was stayed when Lucas filed her Chapter 13 bankruptcy petition on February 25, 2011.

       Lucas filed this adversary complaint against Delaney seeking a determination that his

claim is wholly without merit and seeking to avoid an Affidavit of Lien Interest filed by Delaney

in the Livingston County Register of Deeds.

       Delaney filed an Answer and Affirmative Defenses and a Corrected Amended Answer to

the Complaint; a Counterclaim against Lucas, and a Third-Party Complaint against Citizens

Bank to Determine the Validity of his Interests in Real Property and to Determine the

Dischargeability of Debt.

       Delaney also filed a Third-Party Complaint against the Secretary of Housing and Urban

Development, Citizens Bank, Marda Lucas, the Mortgage Electronic Registration System, and



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PHH Mortgage Corporation, which each party answered. The Secretary of Housing and Urban

Development has since been dismissed.

       Delaney filed a Motion for Summary Judgment as to the Existence and Amount of his

Claim. Citizens Bank, PHH Mortgage Corporation, and Lucas filed responses, to which Delaney

replied.

       The Court held a hearing on Delaney’s Motion for Summary Judgment and directed the

parties to file post-hearing briefs with regard to (1) whether Delaney has an ownership interest in

the Property or holds a valid lien; and (2) whether an equitable lien in favor of Delaney has been

imposed on the Property, and, if not, whether this Court has the ability to impose an equitable

lien on the Property.

       On February 25, 2013, Delaney filed a Motion to Modify the Automatic Stay in the main

bankruptcy case, asking the Court to allow him to reopen the state court proceedings in Lucas v.

Delaney, 44th Michigan Circuit Court, Case No. 10-025017-CZ, in order to continue litigation

and to seek a declaration of Delaney’s ownership rights to, and/or equitable lien/mortgage

against, the Property. Lucas, PHH Mortgage Corporation, and Citizens Bank filed Responses to

that Motion. The Court held a hearing on March 20, 2013, and it denied Delaney’s Motion, but

noted that it would further address the issues raised therein in its Opinion on the pending Motion

for Summary Judgment in this case.

       The required briefs have been submitted by the parties and the matter is now ripe for

decision.

                                             ARGUMENTS

       In his Motion for Summary Judgment, Delaney argues that (1) summary judgment in his

favor as to the existence of his claim against the Property is warranted because he is entitled to



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an equitable lien, if not an outright ownership interest in the Property; (2) summary judgment in

his favor is warranted because the undisputed evidence demonstrates the existence of his claim

and the amount thereof and that such are non-dischargeable under the standards of §

523(a)(2)(A), (a)(2)(B), and (a)(6).

       In her Response to Delaney’s Motion for Summary Judgment, the Plaintiff argues that

there are genuine issues of material facts in dispute with regard to (1) whether the payments

made by Delaney during their relationship constituted rent; (2) whether Delaney made those

payments gratuitously during their relationship; (3) whether or not Delaney has a valid claim;

and (4) whether Delaney’s claim, if such exists, is dischargeable.

       In their Responses, PHH Mortgage Corporation and Citizens Bank argue that there are

remaining questions of fact regarding (1) whether the funds expended by Delaney to improve the

property, repay the mortgage on the Property, and pay the taxes and utility costs are recoverable,

(2) whether Delaney properly perfected his alleged interest in the Property by filing the Affidavit

of Lien Interest; and (3) whether an equitable lien in favor of Delaney has been imposed by

operation of law, and whether this Court has the ability to impose such an equitable lien. The

issues raised by PHH Mortgage Corporation and Citizens Bank are applicable to the

determination as to the priority of Delaney’s claim in relation to the claims of PHH Mortgage

Corporation and Citizens Bank, as well as to the dischargeability of the alleged debt owed by the

Plaintiff to Delaney.

                                          DISCUSSION

                                  I. Summary Judgment Standard

       Federal Rule of Civil Procedure 56 is made applicable in its entirety to bankruptcy

adversary proceedings by Federal Rule of Bankruptcy Procedure 7056.              Federal Rule of



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Bankruptcy Procedure 7056(c) provides that summary judgment is proper "if the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving party is

entitled to judgment as a matter of law." See Choate v. Landis Tool Co., 46 F. Supp. 774 (E.D.

Mich. 1980). The moving party bears the burden of showing the absence of a genuine issue of

material fact as to an essential element of the non-moving party's case. Street v. J.C. Bradford &

Co., 886 F.2d 1472 (6th Cir. 1989) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct.

2548, 91 L.Ed.2d 265 (1986)). The burden then shifts to the nonmoving party once the moving

party has met its burden, and the nonmoving party must then establish that a genuine issue of

material fact does indeed exist. Janda v. Riley-Meggs Industries, Inc., 764 F. Supp 1223, 1227

(E.D. Mich. 1991).

                            II. Whether Delaney has an Interest in the Property

        The first issue the Court must decide is what interest Delaney has, if any, in the Property.

Delaney makes three alternative arguments: (1) that he has an ownership interest in the

Property1; (2) that the Affidavit of Lien Interest he filed on August 29, 2009, created a lien

interest in the Property; and (3) that an equitable lien in his favor has been imposed by operation

of law, or, this Court should lift the automatic stay to allow Delaney to continue his state court

action allow the state court to impose an equitable lien on the Property.                    PHH Mortgage

Corporation and Citizens Bank argue that (1) Delaney cannot argue that he has both an

ownership interest and a lien interest in the Property because one cannot have a lien on Property

he owns; (2) the Affidavit of Lien Interest filed by Delaney did not perfect a lien interest in the

Property because Delaney did not comply with the requirements set forth in Mich. Comp. Laws

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  Delaney does not specifically articulate this argument in his briefs or memoranda of law, but PHH Mortgage
Corporation and Citizens Bank address this issue and the possible repercussions of Delaney claiming an ownership
interest while also, or in the alternative, claiming a lien interest in the Property.

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Ann. § 565.25(1); and (3) an equitable lien has not been imposed in his favor by operation of

law, and this Court does not have the ability to impose an equitable lien on the Property.

              A. Whether Delaney has an Outright Ownership Interest in the Property

       First, Delaney does not seem to claim or make the argument that he has an ownership

interest in the Property. Three documents attached to Delaney’s Motion for Summary Judgment

could support Delaney’s ownership claims: (1) in Exhibit M, Delaney claims that “owned” the

Property as of March 13, 1994; (2) in Exhibit O, the form references that the transaction will

result in a mortgage or security interest “on your home;” and (3) in Exhibit CC, the loan

application indicates that Delaney “owns” the Property.         Those documents, however, are

mortgage documents, which cannot be read to grant Delaney an ownership interest in the

Property, and there is no deed or other like instrument that grants Delaney an outright ownership

interest in the Property. At least at this time, where Delaney does not appear to be arguing that

he has an outright ownership interest in the Property and where there is no documentation

indicating that Delaney has an ownership interest in the Property, the Court concludes that

Delaney does not own the Property. Therefore, the Court need not address PHH Mortgage

Corporation’s and Citizens Bank’s argument that Delaney cannot impose a lien, equitable or

otherwise, on his own Property.

      B. Whether Delaney’s Affidavit of Lien Interest Created a Lien Interest in the Property

       Second, Delaney argues that the Affidavit of Lien Interest he filed on August 29, 2009,

created a lien interest in the Property. PHH Mortgage Corporation and Citizens Bank argue that

(1) Delaney did not properly perfect a lien interest in the Property when he filed the Affidavit of

Lien Interest because he failed to comply with the requirements set forth in Mich. Comp. Laws

Ann. § 565.25(1); and (2) the Affidavit of Lien Interest, although recorded, is not effective notice



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because it fails to appear in the chain of title. In his Reply, Delaney argues that: (1) he properly

recorded his Affidavit of Lien Interest pursuant to Mich. Comp. Laws Ann. § 565.451 (2) the

Affidavit of Lien Interest provided constructive notice of Delaney’s claims against the Property;

(3) the Affidavit of Lien Interest does appear in the chain of title; and (4) Citizens Bank and PHH

Mortgage Corporation, as assignee from Citizens Bank, had actual notice of the Affidavit of Lien

Interest because Delaney personally hand-delivered it to a loan officer at the Citizens Bank

branch in Fowlerville, Michigan.

       PHH Mortgage Corporation and Citizens Bank argue that Delaney did not properly

perfect a lien interest in the Property when he filed the Affidavit of Lien Interest because he did

not comply with Mich. Comp. Laws Ann. § 565.25(1). That statute states:

       the recording of a levy, attachment, lien, lis pendens, sheriff's certificate,
       marshal's certificate, or other instrument of encumbrance does not perfect the
       instrument of encumbrance unless both of the following are found by a court of
       competent jurisdiction to have accompanied the instrument when it was delivered
       to the register under section 24(1) of this chapter:

       (a) A full and fair accounting of the facts that support recording of the instrument
       of encumbrance and supporting documentation, as available.

       (b) Proof of service that actual notice has been given to the recorded landowner of
       the land to which the instrument of encumbrance applies.

M.C.L.A. 656.25(1).

       Delaney failed to comply with Mich. Comp. Laws. Ann. § 565.25(1)(a) and (b). The

only supporting documents attached the Affidavit of Lien Interest were copies of deeds

conveying the Property either to the Lucas or to Marda Lucas. There was no supporting

documentation attached that would support the payments Delaney alleges he made on toward the

mortgages on the Property, the utility bills and taxes, or the renovation of the Property.

Moreover, there was no Proof of Service attached to the Affidavit of Lien Interest to show that



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actual notice was given to land owner at the time the Affidavit of Lien Interest was delivered to

the Register of Deeds for recordation. Delaney does not dispute the fact that he failed to comply

with Mich. Comp. Laws. Ann. § 565.25(1), rather, he argues that the form and recordability of

his Affidavit of Lien Interest was specifically authorized under Mich. Comp. Laws. Ann. §

565.451, et seq. and he fully complied with the requirements therein. Specifically, he argues that

he was authorized to file his Affidavit of Lien Interest under Mich. Comp. Laws. Ann. §

565.451a(b) and (e).

       Mich. Comp. Laws Ann. § 565.451a governs the recording of an affidavit and provides:

       Sec. 1a. An affidavit stating facts relating to any of the following matters which
       may affect the title to real property in this state made by any person having
       knowledge of the facts or by any person competent to testify concerning such
       facts in open court, may be recorded in the office of the register of deeds of the
       county where the real property is situated:

       (a) Birth, age, sex, marital status, death, name, residence, identity, capacity,
       relationship, family history, heirship, homestead status and service in the armed
       forces of parties named in deeds, wills, mortgages and other instruments affecting
       real property;

       (b) Knowledge of the happening of any condition or event which may terminate
       an estate or interest in real property;

       (c) Knowledge of surveyors duly registered under the laws of this state with
       respect to the existence and location of monuments and physical boundaries, such
       as fences, streams, roads and rights of way of real property;

       (d) Knowledge of such registered surveyors reconciling conflicting and
       ambiguous descriptions in conveyances with descriptions in a regular chain of
       title;

       (e) Knowledge of facts incident to possession or the actual, open, notorious and
       adverse possession of real property; or

       (f) Knowledge of the purchaser, or in the case of a corporation, of its president,
       vice president, secretary or other duly authorized representative acting in a
       fiduciary or representative capacity, of real property sold upon foreclosure or
       conveyed in lieu of foreclosure of a trust mortgage or deed of trust securing an
       issue of bonds or other evidences of indebtedness, or of any mortgage, land


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        contract or other security instrument held by a fiduciary or other representative, as
        to the authority of such purchaser to purchase the real property and as to the terms
        and conditions upon which the real property is to be held and disposed of.

M.C.L.A. 656.451a (emphasis added).

        Delaney claims that the Affidavit of Lien Interest he filed falls into either category (b)

(knowledge of the happening of any condition or event which may terminate an estate or interest

in real property) or (e) (knowledge of facts incident to possession or the actual, open, notorious

and adverse possession of real property) enumerated in Mich. Comp. Laws Ann. § 565.451a. A

review of those categories, however, indicates that neither cover the Affidavit of Lien Interest

filed by Delaney. In filing the Affidavit of Lien Interest, Delaney was attempting to create a lien

interest and was not simply attempting to provide an affidavit of facts relating to knowledge of

the happening of any condition or event which may terminate an estate or interest in real

property or knowledge of facts incident to possession of the Property. The Court concludes that

the Affidavit of Lien Interest was not effective under Mich. Comp. Laws Ann. § 565.451a, that

Delaney failed to comply with the requirements set forth in Mich. Comp. Laws. Ann. §

565.25(1), and, therefore, the filing of the Affidavit of Lien Interest was insufficient to perfect a

lien interest in the Property. Accordingly, the Court need not address the arguments raised

regarding actual notice, constructive notice, and the Affidavit of Lien Interest being recorded in

or out of the chain of title.

        C. Whether Delaney Has, Or Is Entitled To, an Equitable Lien Interest in the Property

        In his post-hearing Memorandum of Law Regarding an Equitable Lien in His Favor

Against the Property, Delaney argues that: (1) an equitable lien in his favor and against the

Property arose by operation of law and without the need for a formal judicial decision under

Michigan law; and (2) even if an equitable lien did not arise by operation of law, the automatic



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stay should be lifted to allow him to continue his pre-petition state court action for a judgment

declaring an equitable lien against the Property.

       In its Response to Delaney’s Memorandum, PHH Mortgage Corporation restates its

argument that Delaney cannot obtain a lien, equitable or otherwise, against the Property because

he claims that he has an ownership interest in the Property. It also argues that, even if this Court

determines that an equitable lien has been imposed by operation of law or the state court imposes

an equitable lien against the Property, the date of the imposition of the equitable lien will be the

date of the imposition of such, and this Court should retain jurisdiction to determine the amount

of any such lien and the priority thereof.

               “In the absence of a written contract, an equitable lien will be established
       only where, through the relations of the parties, there is a clear intent to use an
       identifiable piece of property as security for a debt.”

Senters v. Ottawa Sav. Bank, 443 Mich. 45, 53, 503 N.W.2d 639 (1993).

               The court explained the equitable basis for the remedy.

              “ ‘[E]quity will declare a lien out of considerations of right and justice,
       based upon those maxims which lie at the foundation of equity jurisprudence.’ ”

Id., quoting from Kelly v. Kelly, 54 Mich. 30, 47, 19 N.W. 580 (1884).

              However, as the Sixth Circuit Court of Appeals has stated in a similar
       context:

               The equities of bankruptcy are not the equities of the common law.
               Constructive trusts are anathema to the equities of bankruptcy
               since they take from the estate, and thus directly from competing
               creditors, not from the offending debtor. “Ratable distribution
               among all creditors” justifies the Code's placement of the trustee in
               the position of a first-in-line judgment creditor and bona fide
               purchaser for value, empowered to avoid certain competing
               interests (and even to nullify the debtor's “preferential” prepetition
               payments to otherwise entitled creditors) so as to maximize the
               value of the estate.




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XL/Datacomp, Inc. v. Wilson (In re Omegas Group, Inc.), 16 F.3d 1443, 1452 (6th Cir.
1994) (footnote omitted).

                In Omegas Group, the court held that a constructive trust, which is similar
        to an equitable lien, cannot be imposed by the bankruptcy court. The court stated,
        “Because a constructive trust, unlike an express trust, is a remedy, it does not
        exist until a plaintiff obtains a judicial decision finding him to be entitled to a
        judgment ‘impressing’ defendant's property or assets with a constructive trust.”
        Omegas Group, 16 F.3d at 1451.

In re Ackhoff, 281 B.R. 889, 894 (Bankr. E.D. Mich. 2001).

        Based on the decision in Omegas Group, it is clear that this Court cannot impose an

equitable lien on the Property. However, since deciding Omegas Group, the Sixth Circuit Court

of Appeals has clarified several relevant points.         Specifically, in Kitchen v. Boyd (In re

Newpower), 233 F3d 922, 936 (6th Cir. 2000), the Sixth Circuit Court of Appeals “held that

creditors who had initiated proceedings in state court prepetition may have the automatic stay

lifted to pursue their action and that [its] decision in Omegas Group ‘does not bar the

enforcement of such a judgment in the bankruptcy court.’” Poss v. Morris (In re Morris), 260

F.3d 654, 667 (6th Cir. 2001). The Court noted: “Of course, whether a judgment obtained by a

creditor in a state court proceeding initiated prepetition but concluded postpetition following the

lifting of the automatic stay has an effective date prior to the filing of a bankruptcy petition is a

matter left to state law.” Id.

        In this case, the best course of action is for the Court to lift to the automatic stay to allow

the parties to continue the state court litigation initiated prepetition to allow the state court to

determine whether an equitable lien was imposed by operation of law based on the facts of the

case or whether to impose an equitable lien on the Property. In the event that the state court

determines that Delaney has an equitable lien interest in the Property, this Court would have

jurisdiction to determine the priority of such lien and the dischargeability thereof.



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           III. Whether Summary Judgment is Appropriate on the Dischargeability Issues

                                    A. 11 U.S.C. § 523(a)(2)(A)

       Under section 727 of the Bankruptcy Code, a debtor may obtain a general discharge from

all debts that arose before the order for relief.     11 U.S.C. § 727(b).     However, there are

exceptions for certain obligations, including debts for money obtained by fraud or by use of a

false statement in writing. 11 U.S.C. § 523(a)(2)(A) & (B). A discharge under section 727 does

not discharge an individual debtor from any debt:

       (2) for money, property, services, or an extension, renewal, or refinancing of
       credit, to the extent obtained by –

               (A) false pretenses, a false representation, or actual fraud, other than a
               statement respecting the debtor’s or an insider’s financial condition;

11 U.S.C. § 523(a)(2)(A). To prevail on a claim under 523(a)(2)(A), a plaintiff must show that:

       (1) [T]he debtor obtained money through a material misrepresentation that at the time the
       debtor knew was false or that he made with reckless disregard for the truth; (2) the debtor
       intended to deceive; (3) the creditor justifiably relied on the false representation; and (4)
       its reliance was the proximate cause of loss.

In re Rembert,141 F.3d 277, 280 (6th Cir. 1998). Whether a debtor possessed intent to deceive is

measured by a subjective standard. Id.

       Plaintiff must show each element by a preponderance of the evidence.             Grogan v.

Garner, 498 U.S. 279, 286 (1991). Even so, the court must construe all of the exceptions to

discharge strictly, and must give the benefit of the doubt to debtor. Rembert,141 F.3d at 281.

       Delaney argues that the Plaintiff obtained money, services, and credit from Delaney for

the purchase of the Property, the construction of the structures on the Property, the furnishing of

the Property, and the maintenance of the Property, and could only have done so through

misrepresentations concerning Delaney’s ownership rights to the Property.




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       There are remaining questions of fact with regard to (1) whether Lucas ever made a

representation that Delaney would be granted or had been granted an interest in the Property; (2)

whether Lucas made those statements, if at all, knowing that they were false; (3) whether Lucas

made those statements with the requisite intent to deceive Delaney; and (4) whether Delaney

justifiably relied on Lucas’s statements given that he claims that she misrepresented the fact that

he had already been granted an interest in the Property but he failed to actually look at the deeds.

Therefore, Delaney’s Motion for Summary Judgment with regard to his 11 U.S.C. §

523(a)(2)(A) claim is denied.

                                     B. 11 U.S.C. § 523(a)(2)(B)

       Section 523(a)(2)(B) excepts from discharge debts incurred by use of a false statement in

writing.   To prevail on a Section 523(a)(2)(B) claim, a plaintiff must establish the following

elements regarding the writing:

       (i) that it is materially false; (ii) respecting the debtor’s or an insider’s financial
       condition; (iii) on which the creditor to whom the debtor is liable for such money,
       property, services, or credit reasonably relied; and (iv) that the debtor caused to be
       made or published with the intent to deceive.

See Martin v. Bank of Germantown (In re Martin), 761 F.2d 1163, 1166 (6th Cir. 1985).

       A document that is “written, signed, adopted or used by the debtor” qualifies as a

statement in writing under this section. Insouth Bank v. Michael (In re Michael), 265 B.R. 593,

598 (Bankr. W.D. Tenn. 2001).

       Under the first element, a written statement is materially false if the information in it

“offers a substantially untruthful picture of the financial condition of the debtor that affects the

creditor’s decision to extend credit.” Id., citing In re Bogstad, 779 F.2d 370,375 (7th Cir. 1985).

       The second element requires that the statement refer to the debtor’s financial condition.




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       The third element requires the plaintiff/creditor to establish reasonable reliance on the

written statement. Reasonable reliance is not defined in the Bankruptcy Code. Case law

generally holds that it is determined objectively based on the totality of the circumstances. In re

Michael, 265 B.R. at 598.

       The determination of the reasonableness of the creditor’s reliance on a false
       statement in writing is judged by utilizing such factors as:

               (1) whether there had been previous business dealings between the debtor
                   and the creditor;
               (2) whether there were any warnings that would alert a reasonably prudent
                   person to the debtor’s misrepresentations;
               (3) whether a minimal investigation would have uncovered the
                   inaccuracies in the debtor’s financial statements; and
               (4) the creditor’s standard practices in evaluating creditworthiness and the
                   standards or customs of the creditor’s industry in evaluating
                   creditworthiness.
Id.

       The fourth element requires that the debtor make or publish the statement with “intent to

deceive.”

       The standard . . . is that if the debtor either intended to deceive the Bank or acted with
       gross recklessness, full discharge will be denied . . . That is, the debtor must have been
       under some duty to provide the creditor with his financial statement; but full discharge
       may be disallowed if the debtor either intended the statement to be false, or the statement
       was grossly reckless as to its truth.

Martin v. Bank of Germantown (In re Martin), 761 F.2d 1163, 1166 (6th Cir. 1985)(citations

omitted).

       Delaney argues that the Plaintiff made materially false written statements regarding her

financial condition as it related to her joint ownership of the Property with Delaney in the

mortgage loan applications she completed with him, that she intended to deceive Delaney when

she made those statements, and that he relied on those statements. Here, there are remaining

questions of fact with regard to (1) whether Lucas made false statements regarding her financial



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condition in writing to Delaney; (2) whether Lucas made those statements with the intent to

deceive Delaney; and (3) whether Delaney relied on those representations when he applied for

the mortgages with Lucas. Therefore, Delaney’s Motion for Summary Judgment is denied with

regard to his 11 U.S.C. § 523(a)(2)(B) is denied.

                                      C. 11 U.S.C. § 523(a)(6)

       Section 523(a)(6) authorizes a bankruptcy court to exclude a debtor from receiving a

discharge “from any debt for willful and malicious injury by the debtor to another entity or the

property of another entity.” The exceptions to discharge are to be narrowly construed in favor of

the debtor. Monsanto Co., v. Trantham (In re Trantham), 304 B.R. 298 (B.A.P. 6th Cir. 2004)

(citing Meyers v. I.R.S. (In re Meyers), 196 F.3d 622 (6th Cir. 1999)); see also Walker v. Tuttle

(In re Tuttle), 224 B.R. 606, 610 (Bankr. W.D. Mich. 1998) (recognizing "the axiom that

requires this court to construe exceptions to the bankruptcy discharge narrowly and in favor of

the debtor.") (citing Kawaauhau v. Geiger, 523 U.S. 57 (1998)). A party must prove by a

preponderance of the evidence that a debtor committed an injury that is both willful and

malicious. Grogan v. Garner, 498 U.S. 279 (1991).

       In Kawaauhau v. Geiger, 523 U.S. 57 (1998), the United States Supreme Court discussed

and determined the meaning of the language used in 11 U.S.C. § 523(a)(6). The issue before the

United States Supreme Court involved “whether a debt arising from a medical malpractice

judgment attributable to negligent or reckless conduct” fell within 11 U.S.C. § 523(a)(6). Id. at

59.   The Kawaauhaus argued that the malpractice award fell within the Section 523(a)(6)

exception because Dr. Geiger engaged in the intentional act of providing inadequate medical

services which led to Mrs. Kawaauhau’s injury. Id. at 61.




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       In analyzing the parameters of the language “willful and malicious injury,” the United

States Supreme Court found that:

       [T]he word “willful” in (a)(6) modifies the word “injury,” indicating that
       nondischargeability takes a deliberate or intentional injury, not merely a
       deliberate or intentional act that leads to injury. Had Congress meant to exempt
       debts resulting from unintentionally inflicted injuries, it might have described
       instead “willful acts that cause injury.” Or, Congress might have selected an
       additional word or words, i.e., “reckless” or “negligent,” to modify “injury.” . . .
       [T]he (a)(6) formulation triggers in the lawyer’s mind the category “intentional
       torts,” as distinguished from negligent or reckless torts. Intentional torts generally
       require that the actor intend “the consequences of an act,” not simply “the act
       itself.”

Id. at 61-62 (quoting Restatement (Second) of Torts § 8A, Comment a, p. 15 (1964)).

       The United States Supreme Court further determined that to adopt the interpretation

proposed by the Kawaauhaus would:

       place within the excepted category a wide range of situations in which an act is
       intentional, but injury is unintended, i.e., neither desired nor in fact anticipated by
       the debtor. . . . A “knowing breach of contract” could also qualify. A
       construction so broad would be incompatible with the ‘well-known guide that
       exceptions to discharge “should be confined to those plainly expressed.’

Id. at 62 (quoting Gleason v. Thaw, 236 U.S. 558, 562 (1915)).

       More than a year later, the Sixth Circuit Court of Appeals considered the “willful and

malicious injury” language contained in § 523(a)(6), in Markowitz v. Campbell (In re

Markowitz), 190 F.3d 455 (6th Cir. 1999). The Sixth Circuit Court of Appeals interpreted

Geiger and noted that:

       [t]he [Supreme] Court’s citation to the Restatement’s definition of “intentional
       torts” underscores the close relationship between the Restatement’s definition of
       those torts and the definition of “willful and malicious injury.” The Restatement
       defines intentional torts as those motivated by a desire to inflict injury or those
       substantially certain to result in injury. Although the Supreme Court identified a
       logical association between intentional torts and the requirements of § 523(a)(6),
       it neither expressly adopted nor quoted that portion of the Restatement discussing
       “substantially certain” consequences.



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Id. at 464.

        Based on the language used and analysis of the United States Supreme Court in Geiger,

the Markowitz Court announced the standard of the Sixth Circuit Court of Appeals by holding

that:

        unless ‘the actor desires to cause [the] consequences of his act, or . . . believes that
        the consequences are substantially certain to result from it,’ he has not committed
        a “willful and malicious injury” as defined under § 523(a)(6).

Id. (quoting Restatement (Second) of Torts § 8A, at 15 (1964)); see Kennedy v. Mustaine, 249

F.3d 576, 580 (6th Cir. 2001).

        In addition to proving a willful injury, a party must also prove that the debtor committed

a malicious injury. “‘Malicious’ means in conscious disregard of one’s duties or without just

cause or excuse; it does not require ill-will or specific intent.” Wheeler v. Laudani, 783 F.2d

610, 615 (6th Cir. 1986) (citing Tinker v. Colwell, 193 U.S. 473, 486 (1904)). If a party fails to

prove either willful or malicious, the debt will be discharged. Markowitz, 190 F.3d at 463.

Inferences can be made, however, if the circumstances surrounding the alleged injury warrant

such:

        Determining whether a debtor acted both willfully and maliciously for purposes
        of § 523(a)(6) requires an examination of that person’s state of mind. A debtor
        will rarely, if ever, admit to acting in a willful and malicious manner . . . [but]
        both requirements can be inferred through the circumstances surrounding the
        [involved] injury.

O’Brien v. Sintobin (In re Sintobin), 253 B.R. 826, 831 (Bankr. N.D. Ohio 2000) (citations

omitted).

        Delaney claims that Lucas consciously disregarded her legal duty to disclose the true

nature of the ownership of the Property during the 20 year period that Delaney paid the mortgage

loans, maintenance, and utilities on the Property. Here, there are remaining questions of fact



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regarding (1) whether there was any understanding between the parties that Delaney would be

granted, or had been granted, an interest in the parties; and (2) Lucas’s state of mind. Therefore,

Delaney’s Motion for Summary Judgment with regard to his 11 U.S.C. § 523(a)(6) claim is

denied.

                                          CONCLUSION

          For the reasons set forth herein, the Court concludes that (1) Delaney does not have an

outright ownership interest in the Property; (2) Delaney failed to properly perfect a lien interest

in the Property by filing the Affidavit of Lien Interest; (3) this Court cannot impose an equitable

lien on the Property, and, therefore, the automatic stay is lifted to permit the parties to continue

the state court litigation that was initiated prepetition; and (4) Delaney’s Motion for Summary

Judgment is denied with regard to his 11 U.S.C. §§ 523(a)(2)(A) and (B), and (a)(6) claims.

          Counsel for Delaney is directed to prepare and present an Order consistent with this

Opinion and the procedural rules of this Court.
                                                  .

Signed on June 21, 2013
                                              ____ _/s/ Daniel S. Opperman_    __
                                                   Daniel S. Opperman
                                                   United States Bankruptcy Judge




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